          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:05CR257


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
NICHOLAS AVILIA PADRON                    )
                                          )


      THIS MATTER is before the Court on Defendant’s pro se motion for

the return of certain properties which he contends were seized by state

and federal officials in 2005, including a house, eight vehicles, jewelry, and

cash. Motion, filed October 24, 2008. At the Court’s request, the

Government responded to Defendant’s motion. Response to Order

Concerning Disposition of Property, filed December 15, 2008. For the

reasons stated below, Defendant’s motion is denied.

      In October 2005, under the auspices of the Drug Enforcement

Administration (DEA), Defendant was arrested and charged with three




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counts of possession with intent to distribute methamphetamine.1 Warrant

for Arrest, filed October 17, 2005, at 5-6; Indictment, filed October 24,

2005. According to DEA records, the following items were seized at the

time of Defendant’s arrest:

•     2002 Ford Econoline (DEA Asset ID No. 06-DEA-458885)

•     1995 Chevrolet 4x4 (DEA Asset ID No. 06-DEA-459043)

•     $4,410.00 in cash (DEA Asset ID No. 06-DEA-458903)

Exhibit 1, Declaration of Terrence J. King, attached to Government’s

Response, supra, at 2, 4-5, 7. At the same time, the following items were

seized from Katherine Howard Avila:

•     2002 Ford F-150 (DEA Asset ID No. 06-DEA-459065)

•     2002 Dodge 1500 4x4 (DEA Asset ID No. 06-DEA-459070)

Id. at 10, 14.

      With respect to summary forfeiture proceedings of this nature, which

are carried out by an administrative agency like the DEA, the Fourth Circuit

has explained:



      1
       He later pled guilty to one of the counts and received a sentence of
63 months imprisonment. Rule 11 Inquiry and Order of Acceptance of
Plea, filed January 10, 2006, at 3-4; Judgment in a Criminal Case, filed
September 5, 2006, at 3.


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      Pursuant to summary procedures set forth in 19 U.S.C. §§
      1602-19, the United States may, without resort to judicial
      proceedings, issue a declaration of forfeiture for property worth
      less than $500,000 that is otherwise subject to criminal
      forfeiture. See 21 U.S.C. § 881(d) (providing that summary
      forfeitures under drug laws will be governed by provisions of
      law applicable to such forfeitures under customs laws). The
      summary procedures provide, among other things, that the
      government must publish notice of its intention to declare
      forfeiture of the seized property and must provide written notice
      to interested parties. See 19 U.S.C. § 1607. The government
      may declare the property forfeited if, within 20 days of the first
      publication of the notice, no person files a claim for the
      property. See id. § 1609. If a claim is filed, the government
      may seek forfeiture of the property only through judicial
      proceedings. See id. § 1608.

United States v. Minor, 228 F.3d 352, 354 (4th Cir. 2000). “Administrative

forfeitures empower the government to take ownership of property without

resort to any judicial proceeding whatsoever[.]” Id. at 359. Nonetheless,

because such proceedings “plac[e] due process rights at particular risk,” if

a party files a claim in equity challenging an administrative forfeiture, the

federal courts are empowered to hear such claims. Id.; see also

Dusenberry v. United States, 534 U.S. 161, 167 (2002) (noting that the

due process clause of the Fifth Amendment requires the federal

government to provide notice and an opportunity to be heard when

property is seized through administrative forfeiture).




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      In this case, however, Defendant’s motion provides no indication of

why the administrative forfeiture violated any statutory or due process

requirements. Rather, he simply contends that his property was “legally

obtained through hard work, throughout 20 years,” and requests that it be

returned to him. Motion, supra, at 2. Although he received

constitutionally adequate notice of the administrative forfeiture under

Dusenberry,2 he did not contest the forfeiture of the property until nearly

three years after he received the notice of forfeiture. As there is no

indication from the record that the five items listed above were forfeited in

error, the Court is unable to grant relief to Defendant.

      As to the other items Defendant mentions in his motion, including his

house, a gold chain, a watch, and some other vehicles and cash, the DEA

has indicated that it has no record of such items. The Government



      2
         Dusenberry requires notice “reasonably calculated under all the
circumstances” to apprise a person that his property is being forfeited. 534
U.S. at 168. Certified mail addressed to an inmate at the correctional
facility where he is being housed, along with evidence of delivery
procedures reasonably calculated to ensure that the notice found its way to
the inmate, constitutes adequate notice. Id. at 168-69; Minor, 228 F.2d at
358. The Government presented evidence that these procedures were
followed in this case. Declaration of King, supra, at 4, 6-7, 9, 13, 15-16
(describing certified mail deliveries in January 2006 at Buncombe
County Jail, where Defendant was housed).


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suggests that these items may have been seized by the State of North

Carolina, and provides an address to which Defendant may direct his

enquiries. Response to Order, supra, at 2.

     IT IS, THEREFORE, ORDERED that Defendant’s motion for return of

property is hereby DENIED.

                                    Signed: January 16, 2009




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